 Fill in this information to identify the case:

 Debtor name         Beamreach Solar, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                       � Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      � None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   � Operating a business                                $163,921.00
       From 1/01/2017 to Filing Date
                                                                                               � Other


       For prior year:                                                                         � Operating a business                                $738,120.00
       From 1/01/2016 to 12/31/2016
                                                                                               � Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      � None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      � None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               *See Attachment 3a                                                                        $5,672,338.00         � Secured debt
                                                                                                                               � Unsecured loan repayments
                                                                                                                               � Suppliers or vendors
                                                                                                                               � Services
                                                                                                                               � Other


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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      � None.
       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      � None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      � None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      � None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      � None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      � None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      � None



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 Debtor        Beamreach Solar, Inc.                                                                        Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      � None.
                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Pachulski Stang Ziehl &
                Jones LLP
                10100 Santa Monica Blvd.                                                                                       10/19/16
                13th Floor                                                                                                     10/24/16
                Los Angeles, CA 90067                                                                                          02/09/17               $102,220.00

                Email or website address
                pszjlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      � None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      � None.
               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      � Does not apply
                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      �     No. Go to Part 9.
      � Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      �     No.
      � Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      �     No. Go to Part 10.
      � Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      � None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      � None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      � None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
       2XL                                                           Greg Russon                          Fixed assets and inventory             � No
       212 Railroad Avenue                                           1530 McCarthy Blvd.                                                         � Yes
       Milpitas, CA 95035                                            Milpitas, CA 95035




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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



       Facility name and address                                     Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?
       K&N                                                           Greg Russon                          Inventory                           � No
       150 West Hill Place                                           1530 McCarthy Blvd.                                                      � Yes
       Brisbane, CA 94005                                            Milpitas, CA 95035



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    � None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      �     No.
      � Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                  Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      �     No.
      � Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      �     No.
      � Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known     Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      � None



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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         � None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jane Chik                                                                                                                  09/29/14 - 08/02/16
                    579 Gridley St.
                    San Jose, CA 95127
       26a.2.       Ryan Brown                                                                                                                 09/28/09 - 10/16/15
                    3665 La Calle Ct.
                    Palo Alto, CA 94306
       26a.3.       Syed Abidi                                                                                                                 10/12/15 - 04/13/16
                    4343 Cahill St.
                    Fremont, CA 94538
       26a.4.       Jonathan Carr                                                                                                              07/05/16 - present
                    1530 McCarthy Blvd.
                    Milpitas, CA 95035
       26a.5.       Laurie Relos                                                                                                               10/17/16 - present
                    1530 McCarthy Blvd.
                    Milpitas, CA 95035

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          � None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       PricewaterhouseCoopers LLP                                                                                                 2009 - present
                    PO Box 514038
                    Los Angeles, CA 90051
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Moss Adams LLP                                                                                                             2013 - present
                    PO Box 748369
                    Los Angeles, CA 90074

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          � None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Beamreach Solar, Inc.
                    1530 & 1504 McCarthy Blvd.
                    Milpitas, CA 95035

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          � None
       Name and address


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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



       Name and address
       26d.1.       BDO USA LLP
                    One Bush Street
                    Suite 1800
                    San Francisco, CA 94104
       26d.2.       Wells Fargo
                    Clean Tech Group
                    45 Fremont St., 7th Fl.
                    San Francisco, CA 94105-2204
       26d.3.       GSV Equity LLC
                    205 N. Michigan Ave.
                    Suite 3770
                    Chicago, IL 60601
       26d.4.       Kleiner Perkins Caufield & Byers
                    2750 Sand Hill Road
                    Menlo Park, CA 94025
       26d.5.       Technology Partners
                    100 Shoreline Hwy.
                    Bldg B, Ste 282
                    Mill Valley, CA 94941
       26d.6.       Opus Bank
                    19900 MacArthur Blvd., 12th Flr.
                    Irvine, CA 92612
       26d.7.       Trinity Capital
                    2121 W. Chandler Blvd.
                    Suite 103
                    Chandler, AZ 85224

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      �     No
      � Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark Kerstens                                  1530 McCarthy Blvd.                                 Chief Executive Officer
                                                      Milpitas, CA 95035

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mehrad Moslehi                                 1530 McCarthy Blvd.                                 Founder, Chief Strategy
                                                      Milpitas, CA 95035                                  Officer & Chief Technology
                                                                                                          Officer
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Reyad Fezzani                                  995 Menlo Oaks Drive                                Board member
                                                      Menlo Park, CA 94025




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 Debtor      Beamreach Solar, Inc.                                                                      Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jan van Dokkum                                 2750 Sand Hill Road                                 Board member
                                                      Menlo Park, CA 94025

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Greg Williams                                  251 Lytton Avenue                                   Board member
                                                      Suite 200
                                                      Palo Alto, CA 94301
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Wingert                                140 Wilder Ave.                                     Chairman of the Board
                                                      Los Gatos, CA 95030



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      � No
      �     Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Ira Ehrenpreis                                 550 University Ave.                                 Board member                     2007 - January
                                                      Palo Alto, CA 94301                                                                  2017

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Les Vasdaz                                     18070 Carriger Rd.                                  Board member                     July 2008 -
                                                      Sonoma, CA 95476                                                                     October 2016

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Mike Cannon                                    7912 Cava Place                                     Board member                     September 2015 -
                                                      Austin, TX 78735                                                                     September 2016


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      �     No
      � Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      �     No
      � Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      � No
      �     Yes. Identify below.
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 Debtor Beamreach Solar. Inc.                                                                             Case number    (if known)




    Name of the parent corporation                                                                              Employer Identification number of the parent
                                                                                                                corporation
   401K. Beamreach Solar, Inc.                                                                                  EIN:           20.8457485

       , Signature and Declaration
170011 M
     WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed n          Fr&J2f7
  _______                                  --                           Marinus Jacobus Adrlanus Kerstens
Slature                                                                 Printed name

Position or relationship to debtor Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non.indivlduais Filing for Bankruptcy (Official Form 207) attached?
   No
Yes




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Beamreach Solar, Inc.
Attachment 3a to SoFA 
Disbursements to Vendors within 90 days of filing

Vendors Name                                         Sum of Amount
2XL                                                   $               49,833
40 Hrs Staffing                                       $               20,519
Ace Fire Equipment & Service Co., Inc.                $                 9,165
ACME Roofing Services Inc                             $                    500
Adobe Sign                                            $                 2,520
Advanced Chemical Transport                           $               28,435
AERONET                                               $               72,493
Aggreko                                               $               37,462
Air Liquide America Specialty Gases                   $                 5,719
Air Products & Chemicals, Inc.                        $               26,197
Airgas NCN                                            $                 2,311
AJU KIM CHANG &LEE                                    $                    314
Almaden                                               $               27,993
American Express                                      $                     100
Arc Best                                              $                 1,016
AT&T                                                  $                 6,058
AT&T Mobility                                         $                    316
Automatic Vending                                     $                 3,379
BankDirect Capital Finance LLC (Hays)                 $               56,383
Bay Alarm Company                                     $                 1,774
Bay Area Circuits, Inc.                               $               14,513
Beaver & Associates                                   $               34,208
Board of Equalization                                 $                 1,012
Brad Voss                                             $                 2,645
Bressler Group                                        $               10,994
Bundesanzeiger Verlagsges. mgh                        $                       40
CalPack Crating                                       $                 3,494
CBRE, Inc.                                            $                    525
Chang Tsi & Partners                                  $                 5,055
Chi Hoang                                             $               20,447
Christa Frasier                                       $                     894
Cintas                                                $                    215
City of Milpitas                                      $                 1,066
City of Milpitas (utility)                            $             100,446
Clean‐Lines Design                                    $                 7,002
Computer Packages, Inc.                               $               36,337
Cooper White & Cooper                                 $               16,080
County of Santa Clara                                 $                 8,974
CPP, Inc.                                             $                 2,000
CREATIVE ENGINEERING SOLUTIONS PTE LTD                $                    900
D&B                                                   $                    783
DataSafe                                              $                     528


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Beamreach Solar, Inc.
Attachment 3a to SoFA 
Disbursements to Vendors within 90 days of filing

Vendors Name                                            Sum of Amount
David Kinser                                             $                    700
Dewey Pest Control                                       $                    300
Diamond Fence Company, Inc.                              $                 1,429
Director of the USPTO                                    $               41,751
Duane Morris                                             $               15,000
Duniway Stockroom Corp.                                  $                    653
Entrees Unlimited                                        $                    831
Essex Capital Corportation                               $         1,704,672
Evoqua Water Technologies                                $                 9,098
Ewald Associates, Inc.                                   $                 2,047
Fabricated Extrusion                                     $                 7,050
FedEx Express                                            $                 1,632
FedEx Freight *                                          $                 1,175
Fenwick & West LLP                                       $             250,000
Fire‐Matic System, Inc                                   $                 2,212
Flagship Facility Services, Inc.                         $               17,065
FR Kelly                                                 $                 7,500
Freehills Patent Attorneys                               $                 4,152
Gary Kendall*                                            $                 5,000
Graco Ohio Inc.                                          $               21,960
Hana Intellectual Property Law                           $                 2,270
Harrington Industrial Plastics                           $                 1,125
Haulaway                                                 $                 1,478
HeinConcept                                              $               42,817
Hellmann Worlwide Logistics                              $                       39
Heritage Bank Commerce                                   $                 2,625
High Tech Printing                                       $                 2,338
HPM Systems Inc.                                         $               10,870
Imperial Capital                                         $               25,000
Inland Water, Inc                                        $                 3,263
Intuit Quickbooks                                        $                    546
Jake Stringer                                            $                    941
Jiaquan IP Law Firm                                      $                 5,576
JLT Specialty Insurance Service                          $             213,503
John G. Klinestiver                                      $                 1,346
Kuhne + Nagel Inc.                                       $               30,089
LAB ‐ PRO, Inc.                                          $                    255
Linde Electronics & Speciality Gases                     $               28,130
LPG                                                      $               52,738
Mallory Safety and Supply LLC                            $                 4,639
MCP                                                      $                 1,588
MindShift                                                $               25,593


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Beamreach Solar, Inc.
Attachment 3a to SoFA 
Disbursements to Vendors within 90 days of filing

Vendors Name                                         Sum of Amount
Moore Engineering                                     $                 5,000
MSA Systems, Inc.                                     $                    489
MUHAN Patent & Law Firm                               $                 1,332
Nakamura & Partners                                   $               13,646
Neo Solar Power Corp.                                 $             252,765
Oak Creek Properties, LLC                             $             262,781
Opus Bank                                             $             406,112
Pacific West Security, Inc.                           $                 6,000
Park IP Translations                                  $               26,719
PG&E                                                  $               84,091
Pintas IP Group                                       $                 2,385
Praxair Distribution, Inc.                            $                    481
Prudential Cleanroom Services                         $                 1,061
Rack Space Managed Hosting                            $               10,284
Renewable Energy & Cleantech Law Group                $                 6,545
Republic Services #915                                $                 1,609
Riv Inc. S&U                                          $                 1,984
Royal Adhesives & Sealants LLC                        $               17,457
Salesforce.com, Inc.                                  $                    128
Santa Clara County Tax Collector                      $               50,065
Securitas Security Services, Inc.                     $               26,684
Sg Loh                                                $               25,849
Shape Products                                        $               22,306
Sherman Electric                                      $                 1,258
Sherwood Partners, Inc.                               $               95,108
Signature Bank                                        $                 4,001
SilPac                                                $                 2,305
State of Delaware                                     $               53,862
State Water Resources Control Board                   $                 1,676
Stefan Heyn                                           $               57,293
Sugitani Patent Office                                $                 3,154
Sun Chemical Corp. S&U                                $                    582
Tenney Environmental                                  $                 1,200
Therma Corp.                                          $                 5,000
Toshiba Financial Service                             $                 1,528
TOYOPLAS HOLDINGS PTE LTD                             $             413,288
TOYOPLAS MANUFACTURING (MALAYSIA) SDN. BH             $                 6,115
Travelers                                             $               26,292
Trinity Capital Fund II, L.P.                         $             441,753
Trumpf Huettinger, Inc.                               $               14,008
UL LLC                                                $               46,375
Uline                                                 $                    994


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Beamreach Solar, Inc.
Attachment 3a to SoFA 
Disbursements to Vendors within 90 days of filing

Vendors Name                                         Sum of Amount
Univar USA Inc                                        $                 1,594
W2 Systems                                            $               31,104
West Valley Engineering                               $               56,209
WRAYS IP                                              $                    797
WRS Materials                                         $                 2,100
Yusen Logistics (Americas) Inc.                       $                 2,770
Zhejiang Renhe Photovoltaic Technology Co             $                    558
Zulfadzli Haron                                       $                 4,000
Total Disbursements                                   $         5,672,338




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